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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAI‘I
 UNITED STATES OF AMERICA,                   CR. NO. 16-00744 (01) DKW

                Plaintiff,
                                             ORDER DENYING DEFENDANT
       v.                                    JEREMIAH IEREMIA’S MOTION
                                             TO WITHDRAW HIS GUILTY
 JEREMIAH IEREMIA,                           PLEA

                Defendant.


                                   INTRODUCTION

       On May 5, 2017, Jeremiah Ieremia entered a guilty plea to Counts 2, 4 and 7

 of the Indictment on drug distribution charges, pursuant to a Plea Agreement. He

 now seeks, prior to sentencing, to withdraw his plea, claiming that: (1) his plea was

 not valid because former counsel failed to properly advise him of his rights; and

 (2) former counsel “grossly mischaracterized” the term of his likely sentence. On

 July 9 and 19, 2018, the Court received testimony from Ieremia; his former counsel,

 John Schum, Esq.; and Kristin Germosen, the Supervisor of Education at the Federal

 Detention Center (“FDC”) Honolulu. Upon consideration of the live testimony, the

 supporting and opposing memoranda, the arguments of counsel, the record, and the

 relevant legal authorities, the Court DENIES Ieremia’s Motion to Withdraw his

 Guilty Plea.
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                                  BACKGROUND

       Ieremia was charged with drug trafficking offenses in a November 30, 2016

 Indictment, Dkt. No. 1, and was arrested in the Northern District of California on

 December 8, 2016, Dkt. No. 47. Count 1 charges him with conspiracy to distribute

 and to possess with the intent to distribute 50 grams or more of methamphetamine,

 in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846; Counts 2 and 4 charge

 him with distributing and possessing with the intent to distribute 50 grams or more

 of a mixture or substance containing a detectable amount of methamphetamine, in

 violation of Sections 841(a)(1) and 841(b)(1)(B); and Count 7 charges him with

 distribution and possession with the intent to distribute 50 grams or more of

 methamphetamine in violation of Sections 841(a)(1) and 841(b)(1)(A).

       Ieremia was one of eleven defendants charged in the Indictment, and this

 matter is one of six related cases in which a total of 37 defendants were charged with

 narcotics trafficking and related crimes. The case was declared complex on

 December 19, 2016, Dkt. No. 86, and the court appointed a coordinating discovery

 attorney on December 22, 2016, Dkt. No. 93.

 I.    Ieremia’s Guilty Plea

       Schum was appointed as counsel for Ieremia shortly before his arraignment

 and initial appearance in the District of Hawaii on January 12, 2017. CJA

 Appointment, Dkt. No. 120 (Nunc Pro Tunc 1/9/17); Decl. of John Schum ¶ 1, Dkt.


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 No. 111. Schum continued to represent Ieremia during plea negotiations, at his

 May 5, 2017 change of plea hearing, during Ieremia’s presentence interview and

 following receipt of the draft Presentence Investigation Report (“PSR”), up until

 December 7, 2017, when the court granted Schum’s motion to withdraw as counsel.1

 See Dkt. No. 292 (12/7/17 Court Minutes); Schum Decl. ¶ 2.

        In the pleadings and in their testimony, Ieremia and Schum dispute the course

 of proceedings, including the discovery that was made available to Ieremia, the trial

 strategy employed, the plea agreement negotiations, and Ieremia’s prospective

 sentence. For instance, Ieremia initially claimed that no discovery was made

 available to him before entering his guilty plea. See Ieremia Decl. ¶ 4, Dkt. No.

 408-4. During the evidentiary hearing, however, he testified that Schum sent him

 discovery from the United States Attorney’s Office’s initial production, including

 lab reports and an audio file of Ieremia’s interview with agents in San Francisco

 following his arrest in 2016. He also testified that Schum explained to him the

 voluminous nature of the discovery during their first meeting, including FDC

 Honolulu’s policy that would not permit Schum to provide him with more than

 30,000 pages of discovery. Ieremia explained that although Schum did send eight


 1
  Schum’s Declaration in support of his motion to withdraw as counsel avers that he “received a
 declaration from Mr. Ieremia raising ineffective assistance in my representation of him by stating,
 in sum, that I did not adequately explain the plea agreement he signed, that I pressured him into
 accepting the deal despite his innocence and that he wants to file a motion to set aside his guilty
 plea.” Dkt. No. 284 ¶ 3.

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 CDs of discovery to FDC Honolulu for Ieremia’s review, he was told by FDC

 Honolulu staff that none had been received. Ieremia admitted that he never advised

 Schum of his difficulties locating the CDs, nor did he follow up with FDC Honolulu

 staff for assistance. Ieremia further admitted that he later found the eight CDs

 originally provided by Schum under another set of discovery CDs provided by his

 new counsel.

        According to Schum, he delivered a full set of all discovery he received on

 eight CDs to FDC Honolulu, accompanied by a Discovery Material Authorization

 Form, dated February 18, 2017. Schum Decl. ¶ 6; see also Decl. of Kristin

 Germosen, Ex. B, Dkt. No. 451-2.2 Schum testified that Ieremia told him, in

 approximately March or April of 2017, that he had gone “a couple of times” to

 review his e-discovery at the FDC Honolulu law library, but because it was so

 laborious and time-consuming, Ieremia quit going out of frustration. Schum agreed

 that at no point did Ieremia inform him of any difficulties locating or accessing the

 discovery materials. Schum Decl. ¶ 7. In Schum’s recounting of events, after




 2
  FDC Honolulu records indicate that Ieremia requested access to the law library for e-discovery
 review on several occasions between February 16, 2017 and March 14, 2017, but there are no
 records confirming whether he actually visited the library or accessed his e-discovery materials on
 the requested dates. See Germosen Decl. ¶¶ 10–11, Ex. C, Dkt. No. 451-3. It is clear, however,
 based upon Bureau of Prisons records and his testimony, that Ieremia never filed any complaints or
 formal grievances with FDC Honolulu staff regarding lack of access to his e-discovery or the
 failure of law library staff to provide his e-discovery for review upon request. See Germosen
 Decl. ¶¶ 13–15, Ex. C, Dkt. No. 451-4.

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 personally reviewing the discovery related to Ieremia, id. at ¶ 5, he discussed what

 he considered to be the most important parts of that discovery with Ieremia himself

 before the change of plea. Id. at ¶ 8. That included Ieremia’s rap sheet, arrest

 reports, a “video recording of his statement to law enforcement,” 3 and more than

 100 of the most significant intercepted telephone calls and text messages. Id. at

 ¶¶ 9–10.

        Beyond discovery, Ieremia and Schum also presented contradictory facts

 regarding the evaluation of the evidence and the applicable law. Ieremia initially

 declared that Schum “did not advise me of any of my defenses.” Ieremia Decl. ¶ 4.

 At the evidentiary hearing, however, Ieremia admitted that Schum advised him

 about the probable weakness of certain defenses, including relying on the reference

 to “shoes” as a proxy for drugs during the course of his wiretapped communications

 with his co-defendants.

        Schum emphasized that he reviewed potential defenses at length and in detail

 with Ieremia, and repeatedly informed him that he was willing to take the case to

 trial despite what Schum perceived as a weak defense. Schum Decl. ¶ 11–14.

 Schum agreed that he discussed the viability of Ieremia’s “shoe” defense, and

 explained that a witness would likely be called to testify that “shoes” was used on


 3
  Schum’s testified that he recalled watching a video recording of Ieremia’s interview with law
 enforcement. On cross-examination, however, he acknowledged the possibility that it was
 instead an audio, and not a video, recording.

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 the intercepted communications in place of “drugs” or “methamphetamine” to avoid

 detection. He also explained to Ieremia that the lack of an explicit agreement to sell

 drugs would not likely be a strong defense because an agreement could be inferred

 from conduct. Id. at ¶ 13. Schum also testified that he explained his view to

 Ieremia that it would be futile to attempt to exclude the numerous, incriminating

 wiretap communications based upon a claim of an improper warrant. Schum

 candidly conveyed his belief that Ieremia would likely be convicted at trial based on

 the strength of the evidence, and he advised Ieremia that pleading guilty was his best

 option. Id. at ¶ 15.

       Ieremia testified that during his third meeting with Schum at FDC Honolulu in

 early Spring 2017, he asked Schum if the Government was offering him a deal, and

 if so, how much time he was facing. Schum responded that he would talk to the

 Assistant United States Attorneys prosecuting the case. During their next meeting,

 Schum told Ieremia that the Government was offering him a deal to change his plea,

 and according to Ieremia, the Government was agreeing to a sentence of

 imprisonment of 11 to 12 years. Ieremia told Schum that he would agree to such a

 sentence, and Schum said he would bring Ieremia a plea agreement to review at a

 later meeting.

       Schum negotiated a Plea Agreement with the Government and brought it to

 FDC Honolulu to discuss its terms with his client. Ieremia testified that although


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 Schum went over portions of the Plea Agreement with him during that meeting, they

 ran out of time to go over each page in detail, and Ieremia did not really understand

 its terms. Schum provided Ieremia a copy of the Plea Agreement for him to review

 on his own at FDC Honolulu. Ieremia further testified that Schum never explained

 to him any aspect of the sentencing guidelines, including the applicable guideline

 offense level, nor went over any guidelines charts or calculations during their

 meetings. He also claims that Schum never explained to him the Court’s role in

 determining the applicable guideline range or that the Court would consider relevant

 conduct and his prior criminal history in making that determination. Ieremia Decl.

 ¶¶ 9–10.

       Schum contradicts most of these assertions. He claims that he advised

 Ieremia about the sentencing guidelines both before and after presenting him with

 the Plea Agreement. According to Schum, Ieremia initially refused to discuss the

 guidelines with him at all, but relented once he became amenable to plea

 negotiations with the Government. Schum Decl. ¶ 16. Prior to negotiations,

 Schum calculated the drug amounts, advised Ieremia about possible guidelines

 adjustments—including a possible role enhancement and reduction for pleading

 guilty—and informed him that the “best” sentence he could hope for was

 approximately 11.5 years. Id. Schum avers he also advised his client that the

 Court would consider relevant conduct and Ieremia’s prior criminal history both in


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 determining the applicable sentencing guidelines range and in imposing an ultimate

 sentence. Id. at ¶ 19. Schum claims he went over the criminal history contained in

 Ieremia’s rap sheet and discussed how it might affect the sentencing guidelines

 calculation, id., and testified that he settled on criminal history category II or III as

 the likely outcome, using criminal history category II to reach his “best” case of 11

 to 12 years. According to Schum, he told Ieremia that he should not accept the Plea

 Agreement if he did not agree with anything Schum had covered with him. Id. at

 ¶ 20.

         Schum explained to Ieremia that despite their review of the sentencing

 guidelines, the Court would conduct its own evaluation and was not bound by the

 guidelines-related stipulations in the Plea Agreement. Id. at ¶ 18. Schum also

 attests that he told Ieremia that a court probation officer would prepare a PSR

 containing its own guidelines calculations and recommending a specific sentence to

 the Court. Id. Schum informed Ieremia that the guidelines calculation in the PSR

 could be higher than the one in the Plea Agreement, and that the Court was not

 bound by the PSR’s calculation either. Id. Ieremia denies that Schum advised him

 of any of this at any time.

         Prior to the May 5, 2017 plea hearing, the Government provided Schum with

 a revised Plea Agreement. The only substantive change from the Plea Agreement

 that Schum had previously reviewed with Ieremia was the addition of forfeiture


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 provisions. Decl. of Marion Percell ¶ 3, Dkt. No. 424-2. Defendant Ieremia

 signed the Plea Agreement on May 5, 2017.4 Schum Decl. ¶ 22. The Plea

 Agreement does not include an agreed-upon sentence, but does include several

 agreements relevant to sentencing, including a stipulated total offense level of 32. 5



 4
   Under the terms of the Plea Agreement, Ieremia entered a voluntary plea of guilty to Counts 2, 4
 and 7. The Government agreed to dismiss Count 1 as to Ieremia at the time of sentencing.
 5
   The Plea Agreement includes the following sentencing-related stipulations at paragraph 10:

        a.      The guideline applicable to Counts 2, 4, and 7 of the Indictment is U.S.S.G.
                § 2D1.1. Pursuant to U.S.S.G. § 3D1.1(d), the three offenses are grouped
                together.

        b.      Pursuant to U.S.S.G. § 2D1.1, comment. (n.8(D)), the quantity of the
                mixture or substance containing a detectable amount, of methamphetamine
                involved in Counts 2 and 4 combined is the equivalent of approximately
                1,361 kilograms of marijuana, and the quantity of methamphetamine
                involved in Count 7 is the equivalent of 4,462 kilograms of marijuana.
                Accordingly, the amount involved in the offenses to which defendant
                agrees to plead guilty is between 3,000 and 10,000 kilograms of marijuana,
                and the Base Offense Level is 32. U.S.S.G. § 2D1.1(c)(4).

        c.      No specific offense characteristics apply.

        d.      The defendant was a manager or supervisor, but not an organizer or leader,
                in a criminal activity that involved five or more participants. Accordingly,
                the offense level is increased by 3 levels. U.S.S.G. § 3Bl.l(c).

        e.      As of the date of this letter, it is expected that defendant will enter a plea of
                guilty prior to the commencement of trial, will truthfully admit his
                involvement in the offense and related conduct, and will not engage in
                conduct that is inconsistent with such acceptance of responsibility. If all of
                these events occur, and defendant’s acceptance of responsibility continues
                through the date of sentencing, a downward adjustment of 2 levels for
                acceptance of responsibility will be appropriate. See U.S.S.G. § 3E1.1(a)
                and Application Note 3.

        f.      The United States Attorney agrees that defendant’s agreement herein to
                enter into a guilty plea constitutes notice of intent to plead guilty in a timely

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  Plea Agreement ¶ 10, Dkt. No. 188. The Plea Agreement also indicates that its

  provisions are not binding on the Court.6

         At the change of plea hearing on May 5, 2017, Ieremia was sworn to answer

  the Court’s questions truthfully. When asked by the Court: “you have now taken an

  oath to answer the Court’s questions this morning truthfully, and if you do anything

  other than that, you could be subjecting yourself to additional charges. Do you

  understand that, sir?” Ieremia responded, “Yes, Your Honor.” The Court then




                 manner, so as to permit the government to avoid preparing for trial as to
                 defendant. Accordingly, the United States Attorney anticipates moving in
                 the Government’s Sentencing Statement for a one-level reduction in
                 sentencing offense level pursuant to Guideline § 3E1.1(b)(2), if defendant
                 is otherwise eligible. Defendant understands that notwithstanding its
                 present intentions, and still within the Agreement, the prosecution reserves
                 the rights (1) to argue to the contrary in the event of receipt of new
                 information relating to those issues, and (2) to call and examine witnesses
                 on those issues in the event that either the probation office finds to the
                 contrary of the prosecution’s intentions or the Court requests that evidence
                 be presented on those issues.

         g.      In accordance with the above, the parties agree that if the defendant has
                 clearly demonstrated acceptance of responsibility for his offense and the
                 United States Attorney moves for a one-level reduction in sentencing
                 offense level pursuant to Guideline § 3E1.1(b)(2), the total offense level
                 will be 32.
  6
   For example, the Plea Agreement states: “[t]he parties agree that notwithstanding the parties’
  Agreement herein, the Court is not bound by any stipulation entered into by the parties but may,
  with the aid of the presentence report, determine the facts relevant to sentencing.” Plea
  Agreement ¶ 11. It also provides: the “[d]efendant understands that the District Court in
  imposing sentence will consider the provisions of the Sentencing Guidelines. Defendant agrees
  that there is no promise or guarantee of the applicability or nonapplicability of any Guideline or
  any portion thereof, notwithstanding any representations or predictions from any source.” Plea
  Agreement ¶ 14.

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  proceeded with its Rule 11 colloquy. 7 Ieremia indicated that no one had threatened,

  forced or coerced him into pleading guilty, nor had anyone threatened, forced or

  coerced anyone close to him for the same purpose. 5/5/17 Tr. at 5, Dkt. No. 382.

         With respect to the Plea Agreement, the Court questioned Ieremia and counsel

  as follows:

                 THE COURT:          You’ve entered into a plea agreement with
                 the United States; is that correct?

                 THE DEFENDANT:                  (Inaudible).

                 THE COURT:         Have          you     read    that    agreement,       plea
                 agreement in full?

                 THE DEFENDANT:                  (Inaudible).

                 THE COURT:         Confident that you understand each of the
                 terms of your plea agreement with the United States?


  7
   Because the proceedings were recorded by electronic sound recording without the presence of a
  live court reporter, portions of the transcription of the May 5, 2017 change of plea recording reflect
  that Ieremia’s responses to the Court’s questions were “inaudible.” See 5/5/17 Tr., Dkt. No. 382.
  Apparently, the recording equipment failed to capture each of Ieremia’s full statements.
  Although some of his responses are transcribed as “inaudible,” if the Court had not been able to
  hear him, or if his response had been equivocal, the Court would have unquestionably asked him to
  speak up or taken appropriate steps in response to any statement from Ieremia that suggested
  uncertainty or confusion during the colloquy. To be clear, while the transcript does not reflect
  Ieremia’s precise responses to the Court’s questioning, the Court’s independent review of the
  record and pleadings in this matter indicate that Ieremia did respond appropriately to the questions,
  consistent with a defendant who intended to plead guilty to the charges filed. At no point during
  the change of plea hearing did Ieremia indicate that he did not understand the Court’s questions or
  wished to do anything other than plead guilty. Ieremia confirmed as much during his testimony
  on July 9, 2018. See also Schum Decl. ¶ 24 (noting that “Ieremia responded in the affirmative to
  each one the questions for which his response is listed is ‘(Inaudible)’ in the portions of the
  transcript quoted in the Motion”). Indeed, the Court would not and could not have proceeded to
  take his guilty plea if there was any reason, based upon Ieremia’s responses, to believe that he
  failed to understand his rights or any of the information provided to him by the Court.

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             THE DEFENDANT:            (Inaudible).

             THE COURT:          Do you have any questions at all with respect
             to terms of that agreement?

             THE DEFENDANT:            (Inaudible).

             THE COURT:          And I suspect part of the reason you don’t
             have any questions is because you discussed that agreement in
             full with counsel; is that true?

             THE DEFENDANT:            (Inaudible).

             THE COURT:        Mr. Schum, are you satisfied that Mr. Ieremia
             understands the terms of his plea agreement with the United
             States?

             MR. SCHUM:          I am, Your Honor.

             ****

             THE COURT:          Were there any promises made to you by the
             United States that are not reflected in the plea agreement?

             THE DEFENDANT:            No, Your Honor.

             THE COURT:          In other words, the plea agreement -- another
             way of saying the same thing, but the plea agreement reflects the
             entirety of your agreement with the United States; is that correct?

             THE DEFENDANT:            Yes, Your Honor.

             THE COURT:          You understand, sir, that the Court is not
             required to accept your plea agreement and that I could reject it
             after considering a presentence investigation report that will be
             prepared after the conclusion of this morning’s hearing?

             THE DEFENDANT:            Yes, Your Honor.


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               THE COURT:        You further understand that any stipulations
               in your plea agreement with the United States are between you
               and the United States and the Court is not bound by those
               stipulations?

               THE DEFENDANT:             Yes, Your Honor.

  5/5/17 Tr. at 9–11. The Assistant United States Attorney then described the

  essential terms of the Plea Agreement, including the appellate waiver provisions and

  the following account of the stipulations between the parties:

               In Paragraph 10 it sets forth certain stipulations to the applicable
               sentencing guidelines in this case as to the three counts to which
               he pleads guilty. The bottom line of which is that if he in fact
               accepts responsibility and receives the third point, which the
               government agrees that he’s entitled to, if he meets the
               requirements with -- with the acceptance of responsibility, the
               bottom line is that the calculation, this is in Paragraph 10(g), the
               total offense level for the offense will be 32.

               The plea agreement makes clear, as the Court has already stated,
               that the Court is not bound by those stipulations. So the parties
               agree to them.

  5/5/17 Tr. at 11–12.

        Next, the Court itself explained the application of the sentencing guidelines to

  Ieremia and confirmed that he had discussed them with counsel and understood the

  role of the Judge, the PSR, and the general nature of the sentencing process:

               THE COURT:         All right. With respect to sentencing,
               United States law establishes detailed sentencing guidelines that
               apply to those who are convicted of, which includes those who
               plead guilty to federal crimes. The sentencing judge must


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             consider those guidelines. In addition, the sentencing judge
             must consider the statutory sentencing factors that are contained
             in 18, United States Code, Section 3553(a). The sentencing
             guidelines however are just what the name implies, they are
             guidelines, which means that they are advisory on this Court
             only. Do you understand that?

             THE DEFENDANT:             (Inaudible).

             THE COURT:         Have you discussed how the federal
             sentencing guidelines, sir, might apply to your case with your
             counsel, Mr. Schum?

             THE DEFENDANT:             (Inaudible).

             THE COURT:          Do you understand that the Court -- really no
             one at this point, including the Court, can determine precisely
             how those federal sentencing guidelines apply to your case and
             will not be able to do that until after a presentence investigation
             and investigation report have been completed, and after both
             your attorney as well as attorney for the United States have the
             opportunity to comment on or object to portions of that report?

             THE DEFENDANT:             (Inaudible).

             THE COURT:           You understand, sir, that after the Court
             determines how those guidelines apply to your case, the Court
             applies not just the guidelines but the statutory sentencing factors
             that I mentioned a minute ago, the ones that are set forth at 18
             U.S.C. 3553(a). The Court could impose a sentence that is
             either more or less severe than what the sentencing guidelines
             call for.

             THE DEFENDANT:             (Inaudible).

             THE COURT:         Do you understand, sir, that if a sentence is
             imposed that is more severe than what you expect or more severe
             than what the sentencing guidelines call for, you will nonetheless



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               be bound by your plea and plea agreement and will not have a
               right to withdraw (indiscernible)?

               THE DEFENDANT:              (Inaudible).

               THE COURT:          You understand further, sir, that despite any
               discussions you may have had with your counsel, with counsel
               for the United States or with anyone else with regard to the type
               of sentence you are likely to receive or the duration of the
               sentence you are likely to receive, the Court is not bound by
               those discussions nor is the Court bound by any
               recommendations that counsel may wish to provide to it, and that
               a sentence could be imposed more severe than what you expect
               up to the maximum permitted by law; do you understand that?

               THE DEFENDANT:              (Inaudible).

               THE COURT:         Has anyone made any promises to you, Mr.
               Ieremia, with regard to what your sentence will be?

               THE DEFENDANT:              (Inaudible).

  5/5/17 Tr. at 18–20. Because Ieremia indicated that he understood the Court’s

  explanation of the sentencing guidelines, acknowledged the Court’s admonitions,

  and agreed that no promises had been made with respect to his sentence, the Court

  continued with the Rule 11 colloquy.

        After the Government described the elements of the three counts to which

  Ieremia was pleading guilty and outlined the evidence the United States intended to

  offer if the case were to proceed to trial, Ieremia agreed that the factual basis, as set

  forth by the Government, was true. 5/5/17 Tr. at Tr. at 25–26. The Court then

  instructed Ieremia to explain, in his own words, the conduct that made him guilty of


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  Counts 2, 4, and 7, and then followed up by canvassing the defendant on the specific

  counts:

              THE DEFENDANT:            On these three occasions that I am
              charged (indiscernible) involved (indiscernible).

              THE COURT:        All right. And the first of these occasions as
              charged in Count 2 occurred on or about May 30th of 2016?

              THE DEFENDANT:            Yes, Your Honor.

              THE COURT:         And that’s when you sold approximately a
              pound of methamphetamine to your co-defendant Mr. Kuresa
              and you knew that his intention once he acquired this was to sell
              at least some of that to another co-defendant, Ms. Lupe; is that
              true?

              THE DEFENDANT:            Yes, Your Honor.

              THE COURT:         And the second of these occasions occurred
              on or about June 14th of 2016, that’s as charged in Count 4,
              something similar occurred, this time you sold approximately
              half a pound of methamphetamine also to your co-defendant Mr.
              Kuresa, but you did so through a courier, Ms. Conleysha Gaston;
              is that fair?

              THE DEFENDANT:            Yes, Your Honor.

              THE COURT:          Okay. And finally, on July 22nd, the third
              of these three occasions that you just referred to, of 2016, as
              charged in Count 7, again through your courier, Ms. Gaston, you
              sold a half a pound of methamphetamine for the third time to Mr.
              Kuresa, your co-defendant, correct?

              THE DEFENDANT:            Yes, Your Honor.

              THE COURT:         All right. And that methamphetamine that
              you sold to Mr. Kuresa on that particular day, July 22nd of 2016,


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             was in fact seized by federal law enforcement -- excuse me, by
             local law enforcement but tested by federal law enforcement and
             found to consist of approximately 223.1 grams of 98 pure
             methamphetamine, is that your understanding?

             THE DEFENDANT:           (Inaudible).

             THE COURT:        Now, each of these three occasions I think
             you’ve made clear already but just to be absolutely clear, you
             knew that what you were selling on each of these three occasions
             was in fact methamphetamine?

             THE DEFENDANT:             (Inaudible).

             THE COURT:         Are both counsel then satisfied that a factual
             basis for Mr. Ieremia’s plea of guilty to Counts 2, 4 and 7 has
             been established?

             MS. PERCELL:       Yes, Your Honor.

             MR. SCHUM:         I agree, Your Honor.

             THE COURT:       Mr. Ieremia, I’ll turn to you then, sir. As to
             Count 2 of the indictment, how do you plead, guilty or not
             guilty?

             THE DEFENDANT:           Guilty, Your Honor.

             THE COURT:          As to Count 4 of the indictment, how do you
             plead, guilty or not guilty?

             THE DEFENDANT:           Guilty, Your Honor.

             THE COURT:        And finally as to Count 7 of the indictment,
             how do you plead, guilty or not guilty?

             THE DEFENDANT:           Guilty.




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               THE COURT:         Court finds that the defendant Mr. Ieremia
               understands the nature of this morning’s proceedings and is
               competent to enter a knowing and informed plea. And the
               Court further finds that the defendant has in fact entered a
               knowing and informed and voluntary plea of guilty to Counts 2,
               4 and 7 of the indictment without coercion, force or threat.
               Court finds that the defendant -- defendant’s plea of guilty is
               supported by an independent basis in fact containing each of the
               essential elements of those three counts and that the defendant
               appreciates and understands the trial and civil rights that he
               would have in the absence of pleading guilty, but he nonetheless
               knowingly and voluntarily elects to waive those rights. And
               finally, the Court finds that in pleading guilty the defendant
               understands the factors that the Court will consider at the time of
               sentencing, including the potential penalties that apply to each of
               these counts as well as the mandatory minimum sentencing --
               sentences that apply to each of these three counts.

  5/5/17 at 26–28.

        After the May 5, 2017 change of plea hearing, Ieremia met with Schum and a

  United States Probation Officer at FDC Honolulu for a presentence investigation

  interview. After Probation completed a draft PSR, Schum met with Ieremia

  sometime in September 2017 and advised him that under the guidelines calculation

  set forth in the draft PSR, the probation officer had determined an applicable

  guideline range of 292 to 365 months, based upon a total offense level of 38 and a

  criminal history category of III. Upon learning of the draft PSR, Ieremia became

  visibly upset and asked Schum not to do any more work on his case. Schum claims

  that he attempted to explain to Ieremia once again that the Court is not bound by the

  guidelines calculations in the PSR, that the Government had stipulated in the Plea


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  Agreement to the relevant conduct, and that both parties would file a response to the

  draft PSR reflecting their agreement that the total offense level should be 32, not 38.8

  Schum also attempted to tell Ieremia that it was still possible that the Court could

  sentence him to a term approximating 11.5 years, as contemplated by the parties.

  Schum acknowledged in his testimony, however, that Ieremia was very upset during

  the meeting and likely was not listening to his explanations. In November 2017,

  Schum received by email an affidavit from Ieremia informing him that he wished to

  withdraw his guilty plea. Schum then moved to withdraw as counsel on December

  4, 2017. Dkt. No. 284.

  II.    Motion to Withdraw Guilty Plea

         On June 4, 2018, through his new counsel, Ieremia moved to withdraw the

  guilty plea that the Court accepted on May 5, 2017. Ieremia contends both that

  (1) his plea was not valid because he did not understand his rights when he entered

  it; and (2) his former attorney grossly mischaracterized his sentencing exposure and

  the law when advising him to enter the guilty plea. Motion at 2, Dkt. No. 408.

         At the July 9, 2018 hearing, Ieremia contradicted his prior sworn testimony at

  his May 5, 2017 change of plea hearing and recanted the factual basis for his plea.

  According the Ieremia, he said “Yes” in response to the Court’s questions at his


  8
   A total offense level of 32, when combined with a criminal history category III, would yield a
  guidelines range of 151 to 188 months. The same total offense level at the criminal history
  category II used by Schum as Ieremia’s “best” case would yield a range of 135 to 168 months.

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  change of plea hearing because Schum told him to say yes. That is, Ieremia now

  claims that he said “Yes” to the Court’s inquiries during the Rule 11 colloquy,

  whether or not it was a true answer. He also testified in support of his present

  Motion that although he previously read the Plea Agreement, he never actually

  understood it.

        Schum disputes that he told Ieremia to lie or to say “Yes” in response to each

  question from the Court during the change of plea hearing. He claims that prior to

  the change of plea, he explained to Ieremia what would happen at the hearing, that

  the Judge would ask him questions and that he would have to admit to the conduct

  and facts in the Plea Agreement and explain why he is guilty of the offenses. In

  Schum’s retelling of events, he conveyed to Ieremia that if he did not successfully

  complete his change of plea hearing, he would not have the benefit of the Plea

  Agreement and would “be back at square one.”

        Schum believed that the Plea Agreement reached with the Government was “a

  great deal,” and maintains that it would be a mistake for Ieremia to withdraw his

  guilty plea. Schum Decl. ¶ 15. According to Schum, the Plea Agreement remains

  Ieremia’s best available option.

                                LEGAL STANDARD

        Federal Rule of Criminal Procedure 11(d)(2)(B) provides that a defendant

  may withdraw from a plea of guilty before sentencing if “the defendant can show a


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  fair and just reason for requesting the withdrawal.” “The burden of demonstrating

  such a fair and just reason rests with defendant; however, the standard is applied

  liberally.” United States v. Jones, 472 F.3d 1136, 1141 (9th Cir. 2007) (citing

  United States v. Davis, 428 F.3d 802, 805 (9th Cir. 2005)). The defendant need not

  show that the plea itself was invalid in order to prevail. Davis, 428 F.3d at 806.

        “Fair and just reasons for withdrawal include inadequate Rule 11 plea

  colloquies, newly discovered evidence, intervening circumstances, or any other

  reason for withdrawing the plea that did not exist when the defendant entered his

  plea.” See United States v. Ortega–Ascanio, 376 F.3d 879, 883 (9th Cir. 2004).

  However, a mere change of heart about the decision to plead guilty is not a fair and

  just reason. United States v. Rios–Ortiz, 830 F.2d 1067, 1069 (9th Cir. 1987);

  United States v. Maxwell, 498 F.3d 799, 802 n.3 (8th Cir. 2007); United States v.

  Washington, 480 F.3d 309, 316–17 (5th Cir. 2007).

        In the Ninth Circuit, “a defense counsel’s erroneous advice may warrant

  withdrawing a plea even if the defendant does not prove that he would not have

  pleaded guilty but for the erroneous advice.” Davis, 428 F.3d at 808. Thus, the

  fair and just reason standard may be satisfied by showing that “counsel’s gross

  mischaracterization plausibly could have motivated his decision to plead guilty.”

  Id. at 808.




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        Statements made during the plea hearing are entitled to a strong presumption

  of veracity in later attacks on the plea, United States v. Ross, 511 F.3d 1233, 1236–

  37 (9th Cir. 2008) (citations omitted), and a court may also consider the time elapsed

  between the entering of such a plea and the defendant’s withdrawal request, United

  States v. Garcia, 401 F.3d 1008, 1013 (9th Cir. 2005) (citations omitted).

  Ultimately, however, each case must be reviewed in the context in which the motion

  to withdraw guilty plea arose to determine whether a fair and just reason exists to

  permit withdrawal. United States v. McTiernan, 546 F.3d 1160, 1167 (9th Cir.

  2008).

                                     DISCUSSION

        Because Ieremia’s plea was valid, and because former counsel did not

  “grossly mischaracterize” Ieremia’s sentencing exposure, as explained below,

  Ieremia offers no fair and just reason for withdrawing his plea. His Motion is

  therefore DENIED.

        As a preliminary matter, the Court addresses the credibility of the witnesses

  who testified at the evidentiary hearing on the Motion. In carefully assessing the

  testimony of the witnesses, including the substance of the testimony, its consistency

  with other statements and information provided to the Court, as well as the

  demeanor and manner in which the witnesses testified, the Court finds the July 19,

  2018 testimony of Schum to be credible and consistent with the other evidence in the


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  record, including the events at the Rule 11 change of plea hearing, as to material

  details. As discussed more fully below, the Court does not find portions of the July

  9, 2018 testimony of Ieremia to be credible on the specific issue of Schum’s

  discussion and advice regarding the application of the sentencing guidelines to this

  case, and whether Ieremia possessed sufficient understanding of the Plea

  Agreement, such that the Court finds Ieremia’s plea to have been voluntarily

  entered, and not the product of coercion. Ieremia’s credibility is impugned, in part,

  by his July 2018 testimony that is inconsistent with his May 21, 2018 Declaration.

  I.        Ieremia’s Plea Was Valid, and Was Knowingly and Voluntarily Made

            The record establishes that Ieremia’s decision to plead guilty was an

  informed, knowledgeable, and voluntary act. Although Ieremia presently claims

  that he lied during the Rule 11 colloquy, his decision to mislead the Court does not

  make his knowing and voluntary guilty plea otherwise invalid, and does not serve as

  a proper basis to withdraw his plea.9



  9
      On this point, the Tenth Circuit reasoned in United States v. Soto, 660 F.3d 1264 (10th Cir. 2011):

            Whatever else may be said about its powers under Rule 11(d), we hold that a
            district court does not abuse its discretion in refusing a motion to withdraw where,
            as here, the defendant’s request relies solely on a claim that his plea wasn’t
            knowing and voluntary and that claim is predicated on an intentional falsehood.
            Fairness and justice do not indicate that a party may compel any judicial action on
            the basis of a lie—let alone an action that would require the court, the government,
            as well as victims and witnesses to endure the significant cost, time, and all the
            other tribulations associated with a trial. Mistake or confusion, in the interest of
            fairness and justice, may merit more latitude from a court. But an intentional

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         A plea is valid if it “represents a voluntary and intelligent choice among the

  alternative courses of action open to the defendant.” United States v. Harpham,

  564 F. App’x 907, 908 (9th Cir. 2014) (quoting North Carolina v. Alford, 400 U.S.

  25, 31 (1970)). Stated differently, a plea must be knowing and voluntary, which

  requires that “the defendant possess[] an understanding of the law in relation to the

  facts.” McCarthy v. United States, 394 U.S. 459, 466 (1969). In addition, Rule 11

  requires judges to determine that a plea has a factual basis. Fed. R. Crim. P. 11.

  To satisfy this requirement, “[t]he judge must determine ‘that the conduct which the

  defendant admits constitutes the offense charged in the indictment or information or

  an offense included therein to which the defendant has pleaded guilty.’” McCarthy,

  394 U.S. at 467 (citation omitted); see also United States v. Jones, 472 F.3d 1136,

  1140 (9th Cir. 2007) (rejecting defendant’s assertion that his plea was invalid

  because he did not understand the facts to which he stipulated in his plea agreement,

  where the facts admitted in the plea colloquy supported a finding of guilt). “Where,

  as here, a defendant is represented by counsel during the plea process and enters his


         falsehood under oath about such a material matter as a plea agreement is not
         something any District Court is forced to countenance.

  Id. at 1267–68. See also United States v. Vigil, No. 2:08-CR-108-SWS-2, 2013 WL 12322079, at
  *12–13 (D. Wyo. Nov. 1, 2013), aff’d, 605 F. App’x 757 (10th Cir. 2015) (denying motion where
  defendant “seeks the benefit of withdrawing his plea because he now claims to have lied under
  oath during his change of plea hearing,” but the court “finds nothing to support [defendants]’s
  latest self-serving testimony that he lied (repeatedly) to [the judge] at the change of plea hearing
  and was under the influence of narcotics to the extent he was unable to knowingly, intelligently
  and voluntarily enter a plea”).

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  plea upon the advice of counsel, the voluntariness of the plea depends on whether

  counsel’s advice ‘was within the range of competence demanded of attorneys in

  criminal cases.’” Hill v. Lockhart, 474 U.S. 52, 56–57 (quoting McMann v.

  Richardson, 397 U.S. 759 (1970)).

         First, Ieremia’s plea was knowing and intelligent. The Rule 11 hearing was

  complete and thorough, and there is no contention otherwise by defendant. Such

  completeness strongly suggests that defendant comprehended the Plea Agreement,

  including the guideline stipulations and sentencing process and factors outlined

  during the hearing. See United States v. Nostratis, 321 F.3d 1206, 1209 (9th Cir.

  2003). During the plea proceeding, defendant stated—under oath—that he had

  sufficient time to discuss the facts of his case and his decision to enter a plea with his

  counsel. He confirmed that he had read the entire Plea Agreement, discussed it

  with Schum, and had all of his questions answered by Schum before signing the

  agreement. Such declarations in court, under oath, carry a “strong presumption of

  verity.” United States v. Rubalcaba, 811 F.2d 491, 494 (9th Cir. 1987) (citation

  omitted). 10



  10
    See also United States v. Ross, 511 F.3d 1233, 1236–37 (9th Cir. 2008) (statements made during
  the plea hearing are entitled to a strong presumption of veracity in later attacks on the plea).
  There are important reasons for this policy—

         The Rule 11 colloquy is designed to provide a structure to protect the defendant
         against making an uninformed and involuntary decision to plead guilty and to

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          Moreover, these under-oath statements are consistent with the credible

  testimony offered by Schum that he explained to Ieremia both the applicable

  guidelines and the guideline stipulations contained in the Plea Agreement.

  “Although defendant may not have possessed a trained lawyer’s knowledge of the

  guidelines, he certainly understood how the guidelines applied to his case, how they

  operated, and the guideline stipulations contained in the plea agreement,” based

  upon his conversations with Schum and as a result of the Court’s Rule 11 colloquy.

  United States v. Sloan, No. CR. 06-00468 JMS, 2007 WL 4208577, at *5 (D. Haw.

  Nov. 28, 2007). He may not now disavow that understanding in order to attack his

  plea.

          Second, Ieremia’s plea was voluntary and free from coercion, despite his

  subsequent testimony that he only answered “Yes” to the Court’s questions because


          protect the public from an unjust judgment of guilty when a public trial has not been
          conducted. Because a trial is not held when a defendant pleads guilty, the court
          must be able to rely on the defendant’s self-interest and his truthful testimony in
          deciding to find the defendant guilty based on a guilty plea. . . . We repeat what we
          said before, that an appropriately conducted Rule 11 colloquy can only serve
          meaningfully if the court is entitled to rely on the defendant’s statements made
          under oath to accept a guilty plea. United States v. Lambey, 974 F.2d 1389, 1394
          (4th Cir. 1992) (en banc); see also United States v. Wilson, 81 F.3d 1300, 1307 (4th
          Cir. 1996) (noting that the key to whether a motion to withdraw a guilty plea should
          be granted is “whether or not the Rule 11 proceeding was properly conducted”).
          To view the Rule 11 plea colloquy as a procedural game in which pieces are moved
          and manipulated to achieve a result that can beat the system established for
          providing due process to the defendant undermines that very process. And when a
          defendant asserts, in support of a motion to withdraw a guilty plea, that he lied in
          pleading guilty—and repeatedly so—he provides an example of such manipulation.

  United States v. Bowman, 348 F.3d 408, 416–17 (4th Cir. 2003).

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  Schum told him that he had to if he wanted his plea to be accepted by the Court.

  Even accepting Ieremia’s current version of events as true, his allegations do not

  amount to coercion.11 The testimony demonstrates only that Ieremia may not have

  been truthful to the Court when admitting to the factual basis of his plea during the

  Rule 11 colloquy. Ieremia did not elaborate as to which questions from the Court

  he did not answer truthfully—e.g. whether they related to elements of his offenses or

  facts irrelevant to his guilt—nor does he advance any claim of factual innocence.12

         Moreover, his claim that he had insufficient time to review the Plea

  Agreement, and thus did not fully understand its terms, is not supported by credible

  testimony. Schum credibly testified on July 19, 2018 about his discussions with

  defendant regarding the benefits and drawbacks of pleading guilty, the weakness of

  specific defenses, and that he told Ieremia that he was willing to go to trial if that was




  11
     See, e.g., United States v. Spear, No. CR 07-00299 DAE, 2011 WL 3704967, at *8 (D. Haw.
  Aug. 24, 2011), aff’d, 577 F. App’x 726 (9th Cir. 2014) (“Although [counsel] was candid with
  Defendant, and told him that he should seriously consider pleading guilty, [counsel]’s opinion was
  grounded in his appraisal of the facts and issues involved in the case. Such advice does not rise to
  the level of coercion.”); Id., 2011 WL 3704967, at *17 (rejecting defendant’s assertion of coercion
  by his attorney at change of plea hearing, explaining that “Defendant argues that in giving his
  responses, he was ‘simply doing what his attorney told him to do’, but the record of the plea
  hearing belies this assertion . . . Defendant was not merely parroting responses, but rather that he
  was paying close attention to each question and the proceedings as a whole [and] Defendant
  acknowledged several times during the plea colloquy that he was voluntarily entering his plea, that
  no one pressured or coerced him to plead guilty, and that [counsel] explained to him the charges
  and consequences of proceeding with the change of plea hearing”).
  12
     The failure to assert a claim of factual innocence is not held against a defendant seeking to
  withdraw a plea under Federal Rule of Criminal Procedure 11(d)(2)(B). United States v. Garcia,
  401 F.3d 1008, 1012 (9th Cir. 2005).

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  what Ieremia wanted. The record shows that Ieremia was not coerced to plead

  guilty, but instead was given sufficient time to consider his prospective guilty plea,

  to review the terms of the Plea Agreement with Schum at FDC Honolulu, and that

  Schum explained the addition of the forfeiture provision to Ieremia at the courthouse

  prior to his change of plea hearing, and before Ieremia signed the agreement.

  Sloan, 2007 WL 4208577, at *5 (“Although optimally defendant would have had

  more time to read the plea agreement prior to his change of plea, the court concludes

  that he fully understood its terms and the plea itself was voluntary.”).

        In sum, considering the transcript of the May 5, 2017 plea hearing as a whole,

  and the relative credibility of Schum and Ieremia’s testimony on the current Motion,

  the Court concludes that Schum adequately explained the sentencing guidelines to

  defendant, and that defendant had a sufficient understanding of the Plea Agreement,

  such that his plea was not coerced, but was voluntary and intelligent. Based on a

  review of the entire record, the Court is left with a firm conviction that Ieremia has

  simply had a change of heart, as discussed more fully below, an insufficient basis to

  permit a withdrawal of his plea.

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  II.    Former Counsel Did Not “Grossly Mischaracterize” Ieremia’s
         Sentencing Exposure

         Ieremia asserts that several fair and just reasons exist to allow withdrawal of

  his plea.13 However, he primarily attacks the disparity between the 11.5 years that

  Schum purportedly promised him and the approximately 24- to 30-year guideline

  range provided in the draft PSR. Schum’s determination was based on a total

  offense level of 32 at criminal history category II, whereas the draft PSR’s


  13
    For example, Ieremia alleges that Schum did not provide him with all of the discovery in this
  complex case with multiple defendants. That contention, however, is contradicted by the credible
  evidence. As discussed above, Schum testified that he did provide the Government’s initial
  production to Ieremia, consisting of lab reports and a recording of his interview with law
  enforcement, and that he later discussed the contents of more than a hundred of the most
  significant wire intercepts with Ieremia. Schum also testified that he provided eight CDs of
  discovery for Ieremia to review at FDC Honolulu’s law library. Although Ieremia asserts that he
  never received those CDs until his current counsel provided them, well after his change of plea, the
  evidence in the record demonstrates that that assertion is not credible. Ieremia reserved computer
  time at the FDC Honolulu law library on multiple occasions between February and March 2017 for
  purposes of reviewing the CDs that he now claims he never received. Dkt No. 451 at ¶ 11.
  Further, he admits that he never inquired with either Schum or the FDC Honolulu staff regarding
  the whereabouts of these CDs following what he acknowledges was Schum’s delivery of the CDs
  to FDC Honolulu. The only logical and reasonable conclusion then was that he had the CDs in his
  possession, together with ample opportunity to review them.

  Further, even if the discovery CDs had not been made available to him, Ieremia advances no causal
  connection between that alleged shortcoming and his decision to change his plea. Still more,
  because Ieremia was aware of the alleged shortcoming in Schum’s discovery production and/or
  review at the time he entered his plea on May 5, 2017, he has not demonstrated a fair and just
  reason to withdraw that did not exist when he entered his plea. See United States v. Mayweather,
  634 F.3d 498, 506 (9th Cir. 2010) (Affirming the “longstanding interpretation of Rule 11(d)(2)(B)
  to allow plea withdrawal for any reason ‘that did not exist when the defendant entered his plea.’
  We have never held that the rule also embraces circumstances known to a defendant at the time of
  the guilty plea, and we decline to do so now.”) (quoting McTiernan, 428 F.3d at 805); cf. id. at 504
  (“When the basis for withdrawal is erroneous or inadequate legal advice, the defendant’s burden is
  simply to show that proper advice ‘could have at least plausibly motivated a reasonable person in
  [the defendant’s] position not to have pled guilty had he known about the [grounds for withdrawal]
  prior to pleading.’”) (quoting Garcia, 401 F.3d at 1011–12).

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  determination was based on a total offense level of 38 at criminal history category

  III.

         What Ieremia does not acknowledge, however, beyond the draft and

  non-binding nature of the PSR is that the bases for Schum’s so-called sentencing

  prediction do not belong to Schum alone. That is, the Plea Agreement contains a

  negotiated base and total offense level of 32, binding on the United States, which, in

  turn, constrains the “relevant conduct” for which at least the United States can urge

  defendant to be held responsible.14 Under these circumstances, the Court rejects

  Ieremia’s arguments that Schum’s representation of 11.5 years as his “best” case

  scenario was a “gross mischaracterization.” Schum’s prediction is not grossly off

  the mark considering a criminal history category of II or III, plus the Government’s

  stipulation to the total offense level of 32, puts that prediction squarely in

  defendant’s guideline range. All of this—coupled with the Court’s role in

  independently assessing relevant conduct under U.S.S.G. § 1B1.3(a), and to apply

  the 18 U.S.C. § 3553(a) factors as discussed with Ieremia at the change of plea

  hearing—leads to the conclusion that Schum did not grossly mischaracterize

  Ieremia’s sentencing exposure.




  14
    It is “relevant conduct” that largely explains the offense level disparity between defendant and
  the Govt’s stipulated position on the one hand, and the PSR’s position on the other.

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         It is well-established that an erroneous prediction by a defense attorney

  concerning sentencing generally does not entitle a defendant to withdraw his guilty

  plea. Garcia, 909 F.2d at 1348; United States v. Briggs, 623 F.3d 724, 728 (9th Cir.

  2010) (“We have previously expressed skepticism at the proposition that a defendant

  may change his plea solely because he underestimated the severity of the sentence he

  faced.”). The Ninth Circuit has recognized a limited exception to this rule, upon

  which Ieremia now relies, when there has been a “gross mischaracterization” of the

  likely outcome of the case. Davis, 428 F.3d at 805; see also Briggs, 623 F.3d at

  728–29 (applying Davis and limiting withdrawal based on an underestimation of the

  defendant’s sentencing exposure to “exceptional circumstances”). In Davis,

  defense counsel told the defendant that his potential sentencing range was probation

  to eight years, and the defendant believed, based on counsel’s advice, that if he

  pleaded guilty, he would receive probation. Davis, 428 F.3d at 805. The trial

  court concluded that defense counsel grossly mischaracterized defendant’s possible

  sentence because there was “little, if any, possibility” under the guidelines that he

  “would be sentenced to probation or anything close to probation.” Id.15 Relying

  heavily on the district court’s finding that defense counsel affirmatively



  15
    Although defendant did not learn of his attorney’s gross mischaracterization until he received the
  presentence report, after he pled guilty, the district court determined that defendant could not
  withdraw his guilty plea because he did not prove actual prejudice. Id. at 806. The Ninth Circuit
  reversed, holding that no showing of actual prejudice was required. Id.

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  misrepresented defendant’s likely sentencing range, the Ninth Circuit remanded to

  the district court to “decide anew” the motion to withdraw guilty plea using the

  correct legal standard. Id. at 807–08.

         Under the circumstances, Schum’s representations to Ieremia regarding his

  potential sentence cannot be deemed a gross mischaracterization under Davis. In

  Davis there was “little, if any, possibility” of defendant receiving a sentence of

  probation because the court would have had to “depart 20 to 30 levels” to get there.

  Davis, 428 F.3d at 806–07. Here, by contrast, the Court would likely have to vary

  down 7 levels from the recommendations in the draft PSR in order to reach the

  11.5-year sentencing range predicted not only by counsel, but also by the United

  States.16 Moreover, counsel identified the 11.5 years as Ieremia’s “best” case or

  realistic outcome, not his guaranteed outcome. Simply put, Ieremia is not in the

  same position as the defendant in Davis. See also Briggs, 623 F.3d at 728–29

  (affirming denial of motion to withdraw guilty plea where defendant stated he

  expected a sentence in the range of 200 months imprisonment, but the presentence

  report calculated a guideline range of 360 months to life, because defendant failed to

  substantiate his allegations of inadequate legal advice, and when he pled guilty,

  defendant was aware that he faced a substantial term of incarceration).


  16
    The draft PSR recommended a total offense level 38/criminal history category III, compared to a
  total offense level 31/criminal history category III that roughly approximates the levels necessary
  to reach Ieremia’s “best” case term of imprisonment of 11.5 years.

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        Ieremia fares no better under the facts of the other case he chiefly relies upon,

  United States v. Alvarado, 622 F. Supp. 2d 988 (E.D. Cal. 2009). In Alvarado, the

  district court denied the motion to withdraw guilty plea when defense counsel

  predicted a 16- to 17-year sentence whereas defendant’s actual within-guidelines

  sentencing exposure exceeded 24 years. The Alvarado court rejected the

  comparison to Davis, wherein “a probationary sentence was only a theoretical

  possibility, in this case, the prediction of 16 years is an outcome that defense counsel

  specifically negotiated [and] [i]f Alvarado succeeded in challenging the

  enhancement at sentencing, the plea agreement expressly required the Government

  to recommend the 16 year sentence.” Alvarado, 622 F. Supp. 2d at 994. In other

  words, “Alvarado is asking to withdraw his plea because his attorney predicted a

  sentence wholly consistent with the terms of that agreement.” Id. The district

  court rejected his “gross mischaracterization” argument: “Such a prediction cannot

  provide a ‘fair and just’ reason to permit withdrawal of Alvarado’s guilty plea.” Id.

        Likewise here, the 11.5 years that Ieremia labels a “gross

  mischaracterization” is far from “a theoretical possibility,” but is instead “an

  outcome that defense counsel specifically negotiated” for Ieremia. Alvarado, 622

  F. Supp. 2d at 994. Indeed, here, the circumstances are even less egregious, and the

  alleged mischaracterization, less gross. The Plea Agreement that former defense

  counsel negotiated requires the Government to agree to a total offense level of 32,


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  and depending upon the determination of his criminal history as category II or III,

  that offense level could result in a guideline range as low as 121 to 151 months,

  approximating the 11.5 year term of imprisonment relied upon by Ieremia. In order

  to reach that stipulated total offense level and guideline range, Ieremia faces no

  contingency, as was the case in Alvarado—there is no enhancement challenge on

  which Ieremia would have to first prevail before receiving the Government’s

  sentencing concurrence—Ieremia is already entitled to that concurrence by virtue of

  the stipulations in the Plea Agreement.

        Ieremia acknowledged that the Court would determine the applicable

  guideline range and that any sentence imposed may be different from the estimates

  provided by Schum or the United States or Probation. His under oath statements

  are consistent with the credible testimony offered by Schum, outlined above. See

  Briggs, 623 F.3d at 728 (“We take the district court’s detailed colloquy with

  [defendant] as strong evidence that [defendant] understood the meaning of his

  actions.”). The Court informed defendant, during the Rule 11 hearing, of the

  statutory maximum sentence that could apply, and this information was also set forth

  in the Plea Agreement. This, combined with the Court’s Rule 11 colloquy

  regarding the applicability of the guidelines as well as Schum’s conversations with

  defendant, would have necessarily resolved any doubts that he harbored regarding

  his sentencing exposure in this case.


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        It must be noted that although Ieremia relies heavily on the Probation Office’s

  calculation of his criminal history level, the inclusion of certain relevant conduct to

  calculate his total offense level, and the resulting guideline range set forth in the

  draft PSR, the Court has not yet determined whether any of the above will apply in

  this case. As the Court explained to defendant at his change of plea hearing, the

  Probation Office’s determination of these issues, while instructive, is not

  determinative. The Court—not anyone else—will preside over Ieremia’s

  sentencing, and the Court will ultimately decide what constitutes relevant conduct.

  His counsel, however, specifically negotiated a stipulated set of relevant conduct on

  his behalf, to which the United States is bound. Cf. United States v. Spear, No. CR

  07-00299 DAE, 2011 WL 3704967, at *19 (D. Haw. Aug. 24, 2011), aff’d, 577 F.

  App’x 726 (9th Cir. 2014) (“If Defendant succeeds in arguing that the counts to

  which he did not plead guilty, and other uncharged acts, are not relevant conduct,

  then only the counts to which Defendant pleaded guilty will be incorporated into the

  base offense level.”)

        Schum did not grossly mischaracterize Ieremia’s sentencing range.

  Although it is premature to determine whether his representation of Ieremia’s “best”

  case of 11.5 years will ultimately prevail, it is not a near impossibility, as was the

  case in Davis. Schum’s “prediction cannot be proved correct or incorrect until the

  future event has occurred.” United States v. Oliveros-Orosco, 942 F.2d 644, 646


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  (9th Cir. 1991). In any event, on this record, the Court simply cannot conclude that

  defendant was misinformed as to his possible sentencing exposure. To the

  contrary, it appears that Ieremia “only wanted to change his plea once he was

  face-to-face with the full consequences of his conduct.” Briggs, 623 F.3d at 729;

  see also Nostratis, 321 F.3d at 1211 (“Defendants cannot plead guilty to ‘test the

  weight of potential punishment’ and then withdraw their plea if the sentence is

  ‘unexpectedly severe.’”) (citation omitted); Shah v. United States, 878 F.2d 1156,

  1162 (9th Cir. 1989) (“Nor do we believe that fear of receiving a harsh sentence,

  standing alone, constitutes a ‘fair and just’ reason to withdraw a plea, even if

  counsel’s initial advice as to length of plea turned out to be inaccurate.”). Under

  these circumstances, Ieremia’s sentencing expectations do not constitute a “fair and

  just reason” for withdrawal.

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                                     CONCLUSION

        For the foregoing reasons, Ieremia has failed to show that his guilty plea was

  invalid, or that there is some other fair and just reason for its withdrawal, and his

  Motion to Withdraw his Guilty Plea, Dkt. No. 408, is DENIED.

        IT IS SO ORDERED.

        DATED: July 27, 2018 at Honolulu, Hawai‘i.




  United States v. Ieremia, et al., CR. NO. 16-00744 (01) DKW; ORDER DENYING
  DEFENDANT JEREMIAH IEREMIA’S MOTION TO WITHDRAW HIS GUILTY PLEA




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